                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                             3:18-CR-00176-RJC-DSC
    USA                                       )
                                              )
      v.                                      )              ORDER
                                              )
    BOOKER THOMAS CRANK                       )
                                              )

           THIS MATTER is before the Court upon the defendant’s pro se motion for a

recommendation to the Bureau of Prisons (BOP) that his federal sentence be served

concurrently with a state sentence. (Doc. No. 38).

           According to the motion, after this Court sentenced the defendant for

possessing a firearm as a felon on January 29, 2019, (Doc. No. 35: Judgment), he

was sent to South Carolina where he was held in custody on unspecified charges,

(Doc. No. 38: Motion at 2). Although a federal court has discretion to announce

whether its sentence will be served concurrently with or consecutively to an

anticipated state sentence, Setser v. United States, 132 S. Ct. 1463, 1468 (2012),

that issue was not addressed in the proceedings before this Court.1 Multiple terms

of imprisonment imposed at different times run consecutively unless the judgment

states otherwise. 18 U.S.C. § 3584(a). The defendant has not shown any authority

to alter the final Judgment to include the requested recommendation.




1
 The presentence report did not include any pending South Carolina charges. (Doc.
No. 28 at 8).


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       IT IS, THEREFORE, ORDERED that the defendant’s request for a

recommendation for a concurrent sentence, (Doc. No. 38), is DENIED.

 Signed: October 22, 2021




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